               Case 2:20-cv-00983-TSZ Document 36 Filed 12/04/20 Page 1 of 4




 1                                                                   HONORABLE THOMAS S. ZILLY

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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 9

10   HUNTERS CAPITAL, LLC, et al.,                      Case No. 20-cv-00983-TSZ

11                          Plaintiffs,                 STIPULATION AND [PROPOSED]
                                                        ORDER STRIKING DEADLINE FOR
12              v.                                      DISCOVERY ON CLASS CERTIFICATION
                                                        ISSUES
13   CITY OF SEATTLE,
                                                        NOTE ON MOTION CALENDAR:
14                          Defendant.
                                                        December 4, 2020
15

16          On October 29, 2020, the Court convened a telephonic status conference to discuss the case

17   and related deadlines, including those related to class certification. During the conference, the

18   parties advised the Court that they had reached agreement on several of the deadlines referenced in

19   the parties’ Joint Status Report.

20          The Court’s Minute Order Setting Trial and Related Dates (Dkt. # 27) (Oct. 29, 2020)

21   accurately reflects the parties’ agreement and the Court’s ruling with the sole exception that it sets

22   a deadline of May 17, 2021, for discovery on class certification issues. The parties do not recall

23   discussing deadline for completing discovery on class certification issues during the status

24   conference and agree that such a deadline is not necessary in light of the Court’s ruling that

25   discovery will not be bifurcated in this matter. Accordingly, the parties respectfully request that



     STIPULATION AND [PROPOSED] ORDER                                                  LAW OFFICES
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     (Case No. 20-cv-00983-TSZ)
               Case 2:20-cv-00983-TSZ Document 36 Filed 12/04/20 Page 2 of 4




 1   the Court amend the October 29 order by striking the reference to the May 17, 2021, deadline for

 2   completing discovery on class certification issues.

 3          STIPULATED AND AGREED TO this 4th day of December, 2020.

 4   CALFO EAKES LLP                                   PETER S. HOLMES
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     By:   s/ Tyler S. Weaver                              Assistant City Attorney
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     By:   s/ Andrew DeCarlow                              Seattle City Attorney’s Office
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               Case 2:20-cv-00983-TSZ Document 36 Filed 12/04/20 Page 3 of 4




 1                                              ORDER

 2          The Court hereby AMENDS the Minute Order Setting Trial and Related Dates (Dkt. # 27)

 3   by STRIKING the deadline of May 17, 2021, by which discovery on class certification issues must

 4   be completed.

 5          DATED this ____ day of ______________, 2020.

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 7
                                                     THOMAS S. ZILLY
 8                                                   UNITED STATES DISTRICT JUDGE
 9
     Presented by:
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     CALFO EAKES LLP
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12   By:   s/ Patricia A. Eakes
     By:   s/ Angelo J. Calfo
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